          Case 1:19-cv-00013-JL Document 46 Filed 04/16/19 Page 1 of 2



                       UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW HAMPSHIRE


Joe Doe

    v.                                    Civil No. 19-cv-13-JL

Trustees of Dartmouth College



                              PROCEDURAL ORDER



    The Preliminary Pretrial Conference currently scheduled for

April 17, 2019 at 11:00 a.m. will include a substantive,

meaningful discussion of the parties’ claims and defenses.

Counsel are expected to be prepared to engage in an open,

cooperative discussion in good faith.          Counsel are reminded of

the obligations imposed by Fed. R. Civ. P. 11(b)(3) and (4), and

should be prepared to explain the factual basis underlying any

claims or defenses they have pleaded.

    Each party shall be represented at the Preliminary Pretrial

Conference by counsel authorized to bind the party on all

matters.

    To the extent that the substance of this order constitutes

a departure from the customary Preliminary Pretrial practice to

which counsel are accustomed, the court apologizes for the short

notice, and will bear this in mind at the conference.
         Case 1:19-cv-00013-JL Document 46 Filed 04/16/19 Page 2 of 2



      SO ORDERED.


                                    ____________________________
                                    Joseph N. Laplante
                                    United States District Judge

Dated:   April 16, 2019

cc:   William E. Christie, Esq.
      Suzanne Amy Spencer, Esq.
      Alexander William Campbell, Esq.
      Daryl J. Lapp, Esq.
      Elizabeth H. Kelly, Esq.
      Katherine Ann Guarino, Esq.
